EXHIBIT 3
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 SWISSDIGITAL USA CO., LTD.

      Plaintiff,

      v.                                                 Civil Action No. 6:23-cv-00196-ADA

 SAMSONITE INTERNATIONAL S.A.,                           DEMAND FOR JURY TRIAL

      Defendant.




                   NOTICE OF DEPOSITION OF TONY QUARTARONE

       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 30, Plaintiff

Swissdigital USA Co., Ltd. (“Swissdigital” or “Plaintiff”) will take the deposition upon oral

examination of Tony Quartarone on Thursday, February 1, 2024, at 11:00 a.m. at Samsonite

Corporate Headquarters, 575 West Street, Suite 110, Mansfield, MA 02048.

       The deposition will be taken before a certified short hand reporter or any other officer

appointed or designated under Fed. R. Civ. P. 28 that is authorized to take depositions. Notice is

also given pursuant to Fed. R. Civ. P. 30(b)(3) that in addition to recording this oral deposition by

stenographic means, this oral deposition may also be recorded by audio and audiovisual means,

specifically including videotape recording and by real time transcription. The deposition will

continue from day to day until completed.




                                                 1
Dated: January 16, 2024




                          Respectfully submitted,


                          /s/ Dariush Keyhani
                          Dariush Keyhani
                          Frances H. Stephenson
                          Keyhani LLC
                          1050 30th Street NW
                          Washington, DC 20007
                          T. 202.748.8950
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                          dkeyhani@keyhanillc.com
                          fstephenson@keyhanillc.com


                          Attorneys for Plaintiff Swissdigital USA Co., Ltd.




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                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document was served upon

Defendant’s counsel of record via electronic mail on January 16, 2024.


                                                   /s/ Scott M. Draffin
                                                   Scott M. Draffin




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 SWISSDIGITAL USA CO., LTD.

      Plaintiff,

      v.                                                 Civil Action No. 6:23-cv-00196-ADA

 SAMSONITE INTERNATIONAL S.A.,                           DEMAND FOR JURY TRIAL

      Defendant.




                        NOTICE OF DEPOSITION OF ALICE ZENG

       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 30, Plaintiff

Swissdigital USA Co., Ltd. (“Swissdigital” or “Plaintiff”) will take the deposition upon oral

examination of Alice Zeng on Thursday, February 1, 2024, at 3:00 p.m. at Samsonite Corporate

Headquarters, 575 West Street, Suite 110, Mansfield, MA 02048.

       The deposition will be taken before a certified short hand reporter or any other officer

appointed or designated under Fed. R. Civ. P. 28 that is authorized to take depositions. Notice is

also given pursuant to Fed. R. Civ. P. 30(b)(3) that in addition to recording this oral deposition by

stenographic means, this oral deposition may also be recorded by audio and audiovisual means,

specifically including videotape recording and by real time transcription. The deposition will

continue from day to day until completed.




                                                 1
Dated: January 16, 2024




                          Respectfully submitted,


                          /s/ Dariush Keyhani
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                          Frances H. Stephenson
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                          Attorneys for Plaintiff Swissdigital USA Co., Ltd.




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Defendant’s counsel of record via electronic mail on January 16, 2024.


                                                   /s/ Scott M. Draffin
                                                   Scott M. Draffin




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 SWISSDIGITAL USA CO., LTD.

      Plaintiff,

      v.                                                 Civil Action No. 6:23-cv-00196-ADA

 SAMSONITE INTERNATIONAL S.A.,                           DEMAND FOR JURY TRIAL

      Defendant.




                      NOTICE OF DEPOSITION OF CANDY ZHANG

       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 30, Plaintiff

Swissdigital USA Co., Ltd. (“Swissdigital” or “Plaintiff”) will take the deposition upon oral

examination of Candy Zhang on Thursday, February 1, 2024, at 1:00 p.m. at Samsonite Corporate

Headquarters, 575 West Street, Suite 110, Mansfield, MA 02048.

       The deposition will be taken before a certified short hand reporter or any other officer

appointed or designated under Fed. R. Civ. P. 28 that is authorized to take depositions. Notice is

also given pursuant to Fed. R. Civ. P. 30(b)(3) that in addition to recording this oral deposition by

stenographic means, this oral deposition may also be recorded by audio and audiovisual means,

specifically including videotape recording and by real time transcription. The deposition will

continue from day to day until completed.




                                                 1
Dated: January 16, 2024




                          Respectfully submitted,


                          /s/ Dariush Keyhani
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                          Attorneys for Plaintiff Swissdigital USA Co., Ltd.




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                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document was served upon

Defendant’s counsel of record via electronic mail on January 16, 2024.


                                                   /s/ Scott M. Draffin
                                                   Scott M. Draffin




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